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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


BARBARA J. WALKER,                                 )
                                                   )
                     Plaintiff,                    )
                                                   )
v.                                                 ) Civil Action No.: 04-01991 (RMU)
                                                   ) Judge Ricardo M. Urbina
                                                   ) Magistrate Judge John M. Facciola
PHARMACEUTICAL RESEARCH AND                        )
MANUFACTURERS OF AMERICA et al,                    )
                                                   )
                     Defendants                    )


PLAINTIFF’S LOCAL RULE 56.1 STATEMENT OF UNDISPUTED MATERIAL
     FACTS IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT



       Pursuant to Local Rule 56.1 Plaintiff Barbara J. Walker submits this statement of

undisputed material facts in support of her Motion for Summary Judgment against the

Individual Defendants and New York Life Investment Management.
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                                    THE PARTIES

A. Plaintiff Barbara J. Walker was employed by the Pharmaceutical Manufacturers

   Association (later Pharmaceutical Research & Manufacturers of America (“PhRMA”)

   on December 12, 1977. Ind. Def’s Answer at 1, ¶ 1.

B. While employed at PhRMA Mrs. Walker participated in the Retirement Plan and the

   Deferred Savings Plan. 2nd Amend. Compl. (Dkt. 100) ¶ 12.

C. As a former employee of PhRMA, Mrs. Walker remains a vested terminated

   Participant in the Retirement Plan. Persinger Dep. at 14, lines 1-2, Exhibit

       ; Morales Dep. #1, Ex. 1 at 3, Exhibit       .

D. The Retirement Committee is the Plan Administrator for the PhRMA Retirement Plan

   and Deferred Savings Plan (“the plans”), 2nd Amend. Compl. (Dkt. 100) ¶ 12, Ind.

   Def’s Answer at 3, ¶ 12 (Dkt 111); NYLIM Answer at 14, ¶ 67 (Dkt. 112); Morales

   Dep. #1, Ex. 1 at 5.

E. The Retirement Committee is the named fiduciary in the PhRMA plans. 2nd Amend.

   Compl. (Dkt. 100) ¶ 10, Morales Dep. #1, Ex. 1 at 6-7, Walker/Ind defs Ex. 9 at 6;

   Walker Ex. 14 at 10; Walker/Ind defs Ex. 17 at 20.

F. Some of the Individual Defendants are current or former members of the Retirement

   Committee. 2nd Amend. Compl. (Dkt. 100) ¶ 12b.

G. PhRMA is a 501(c)(6) trade association governed by its Board of Directors. Persinger

   Dep. at 14, lines 15-16.

H. Some of the Individual defendants are current or former members of the PhRMA

   Board of Directors. 2nd Amend. Compl. (Dkt. 100) ¶ 13
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I. The PhRMA Board of Directors is a fiduciary pursuant to the terms of the plans.

   Walker/Ind defs Ex. 10 at 46, Walker/Ind defs Ex. 12 at 39, Walker/Ind defs Ex. 17 at

   20

J. The Retirement Plan gives the Board of Directors the responsibility for selection,

   retention and removal of members of the Retirement Committee, who are plan

   fiduciaries. Walker/Ind defs Ex. 9 at 26; Walker/Ind Defs Ex. 14 at 48

K. The 1999 Retirement plan allows the Board of Directors to delegate responsibility for

   the selection, retention, removal or replacement of the Trustee, investment managers

   and investment advisors to a committee of the Board or the Investment Committee.

   Walker/Ind Defs Ex. 14 at 48, section 9.3(c).

L. The Deferred Savings plans give the “Association” the authority to appoint a

   Retirement Committee, to abolish or suspend it, or to appoint any of its members as

   responsible for the operation of the plan. Walker/Ind Defs Ex. 15 at 30, section 3.01.

M. Beginning in 2005 New York Life Investment Management performed services for

   the PhRMA Retirement Plan pursuant to a service agreement NYLIM’s Answer at 4,

   ¶ 12(a) (Dkt. 112).

                                Requests for Plan Documents

N. On August 26, 2002 Mrs. Walker made a written request for certain plan documents

   from the PhRMA Retirement Committee. Morales Dep. #1, Ex. 1 at 13, Morales

   Dep. #2 at 21, line 7 - 9.

O. Mrs. Walker did not receive from the Retirement Committee all the documents she

   requested on August 26, 2002. Morales Ex. 2.
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P. In August, 2003 Mrs. Walker requested plan documents from Deb Barnes, PhRMA

   Controller.

Q. On or about August 27, 2003 PhRMA sent Mrs. Walker copies of the Summary

   Annual Reports for the plans for the plan year January 1, 2001 through December 31,

   2001, Morales Dep. #1, Ex. 1 at 11, but not the summary annual reports for plan year

   2002.

R. To date Mrs. Walker has still not received all of the documents she requested.

   Morales dep. at 9 – 14.
